 Fill in this information to identify your case:

 Debtor 1                  Howard Wai Ho Wong
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           20-30134
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

        Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                                Dates Debtor 2
                                                                lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 For the calendar year before that:                 Wages, commissions,                        $23,020.00          Wages, commissions,
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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              Case: 20-30134                  Doc# 12                Filed: 03/13/20         Entered: 03/13/20 10:35:28                        Page 1 of 8
 Debtor 1      Howard Wai Ho Wong                                                                          Case number (if known)   20-30134


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

                                                    Wages, commissions,                          $7,650.00         Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 For last calendar year:                           stock trade and SEP                          $68,600.00
 (January 1 to December 31, 2019 )                 withdrawal

 For the calendar year before that:                stock trade and                              $23,322.00
 (January 1 to December 31, 2018 )                 receipt of past
                                                   account receivable


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                      No.         Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20         Entered: 03/13/20 10:35:28                     Page 2 of 8
 Debtor 1      Howard Wai Ho Wong                                                                          Case number (if known)   20-30134


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Beekman/Cortes                                           January 27, 2020              $25,000.00           $20,000.00        Mortgage
       940 Adams Street                                                                                                              Car
       Suite J                                                                                                                       Credit Card
       Benicia, CA 94510                                                                                                             Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other payment of
                                                                                                                                    attorneys' fees

        Moya Law Firm                                           December 20,                  $20,000.00           $50,000.00        Mortgage
       1300 Clay Street                                         2019                                                                 Car
       Oakland, CA 94612                                                                                                             Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other   Legal Fees


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       GRACE IMAGE PHOTOGRAPHY, A                               Breach of                   San Francisco Superior                     Pending
       SOLE PROPRIETORSHIP AND                                  contract, and               Court                                    On appeal
       JUDY MCKIE VS. JENI FONG,                                fraud. cross                400 McAllister St
                                                                                                                                     Concluded
       HOWARD WONG, MAY-LEE CHAI                                complaint from              San Francisco, CA 94102
       et al.                                                   Fong/Wong, for
       CGC-18-569386                                            fraud, and loan
                                                                default

       Howard Wong, Jeni Fong v.                                Fraud, Breach of            San Francisco Superior                     Pending
       Synthesis Advisors, Inc. et al.                          Fiduciary Duty              Court                                    On appeal
       CGC-19-579783                                            and other contract          400 McAllister St.
                                                                                                                                     Concluded
                                                                and tort claims             San Francisco, CA 94102

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20         Entered: 03/13/20 10:35:28                    Page 3 of 8
 Debtor 1      Howard Wai Ho Wong                                                                          Case number (if known)    20-30134



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                      Describe the gifts                                     Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Brandon Wong                                                    Graduation gift                                        May 2018                   $999.00
       1828 Louvaine Dr.
       San Francisco, CA 94105

       Person's relationship to you: nephew

       Fanny Wong                                                      Paid for part of her birthday gift                     June 2018                $1,960.00
       3229 Estates Ave.
       Pinole, CA 94564

       Person's relationship to you: Mother


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                  Describe what you contributed                          Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20         Entered: 03/13/20 10:35:28                     Page 4 of 8
 Debtor 1      Howard Wai Ho Wong                                                                          Case number (if known)    20-30134


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment               Amount of
       Address                                                         transferred                                            or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Finestone Hayes LLP                                             Attorney Fees                                          Feb. 5, 2020               $3,000.00
       456 Montgomery St., 20th Floor
       San Francisco, CA 94104
       sfinestone@fhlawllp.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment               Amount of
       Address                                                         transferred                                            or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                    Description and value of                 Describe any property or         Date transfer was
       Address                                                         property transferred                     payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                   Description and value of the property transferred                         Date Transfer was
                                                                                                                                                 made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20         Entered: 03/13/20 10:35:28                      Page 5 of 8
 Debtor 1      Howard Wai Ho Wong                                                                             Case number (if known)   20-30134


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of                Type of account or       Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number                  instrument               closed, sold,            before closing or
       Code)                                                                                                             moved, or                         transfer
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

       No
           Yes. Fill in the details.
       Name of Financial Institution                                   Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City,                                             have it?
                                                                       State and ZIP Code)

       Chase Bank                                                                                             Miscellaneous personal               No
                                                                                                              papers                               Yes

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                        Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)              to it?                                                                     have it?
                                                                       Address (Number, Street, City,
                                                                       State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                    Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)              (Number, Street, City, State and ZIP
                                                                       Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20               Entered: 03/13/20 10:35:28               Page 6 of 8
 Debtor 1      Howard Wai Ho Wong                                                                                 Case number (if known)   20-30134


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                    Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                       ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                    Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                       ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                      Court or agency                            Nature of the case                   Status of the
       Case Number                                                     Name                                                                            case
                                                                       Address (Number, Street, City,
                                                                       State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                    Employer Identification number
       Address                                                                                                         Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                       Dates business existed
       Grace Imaging                                            Photography                                            EIN:       debtor's soc. sec. no.
       456 Montgomery Street
       San Francisco, CA 94104                                  Ed Hatter & Co                                         From-To    1997-2017


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

       No
           Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Mario Moya                                               01/5/2020
       1300 Clay Street
       Oakland, CA 94612

       Ed Hatter CPA                                            01/28/2019
       150 Post Street ste 610
       San Francisco, CA 94108

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 7
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20            Entered: 03/13/20 10:35:28                       Page 7 of 8
 Debtor 1      Howard Wai Ho Wong                                                                          Case number (if known)   20-30134



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Howard Wai Ho Wong
 Howard Wai Ho Wong                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date     March 12, 2020                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8
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            Case: 20-30134                    Doc# 12                Filed: 03/13/20         Entered: 03/13/20 10:35:28                  Page 8 of 8
